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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

RICHARD PITTMAN,

      Defendant.                                         Case No. 05-CR-30133-DRH

                                        ORDER

HERNDON, District Judge:

             Now before this Court is defendant Richard Pittman’s Motion for

Temporary Custody Transfer From Perry County Jail. (Doc. 143.) The Government

has filed its opposing Response to said motion. (Doc. 146.) Essentially, Pittman

complains that he is “having a problem with a particular guard at the jail.” (Doc.

143, ¶ 1.) Pittman recounts instances of receiving threats of losing his family visit

“without justification” and of being harassed in general. (Id. at ¶ 2.) To substantiate

his allegations, Pittman claims that his mother-in-law witnessed Pittman being

pushed by the same guard who has allegedly harassed Pittman on previous occasion.

(Id. at ¶ 3.) Although Pittman has attempted to contact the U.S. Marshall’s office

regarding his problem, he does not believe he will receive a transfer unless the office

felt there was a real threat to his safety. (Id. at ¶ 4.) Therefore, Pittman has filed the

instant motion to request this Court order his transfer from the Perry County Jail.

             The Government objects to Pittman’s motion in that the only specific

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instance of harassment he alleges is being pushed by the guard in front of his

mother-in-law and his two children. (Doc. 146, ¶ 3.) Even taking this allegation in

the light most favorable to Pittman, the Government asserts that it is a de minimis

violation. (Id. at ¶ 4.) Moreover, the Government points out that “jails must be able

to maintain order and security,” and “the fact that such detention interferes with the

detainee’s understandable desire to live as comfortably as possible and with as little

restrain as possible during confinement does not convert the conditions or

restrictions of detention into ‘punishment.’” (Id. at ¶ 5, citing Bell v. Wolfish, 441

U.S. 520, 537 (1979).) Lastly, the Government lists perhaps its most persuasive

argument: a transfer based on the desires of a detainee seriously undermines the

Marshall’s ability to determine placement based on legitimate needs. (Id. at ¶ 7.)

             The Court agrees with the Government’s reasoning. Harassment by a

jail official which constitutes deliberate indifference of the safety and welfare of a

pretrial detainee is certainly not behavior approved by the Court or under the law.

However, the Court does not feel that the specific allegations made by Pittman in the

instant matter rise to that level nor warrant usurping the Marshall’s authority and

method of running the jail.     Therefore, Pittman’s motion is hereby DENIED.

             IT IS SO ORDERED.

             Signed this 7th day of February, 2006.

                                                      /s/        David RHerndon
                                                      United States District Judge




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